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8
9                             IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA                          Case No. 1:22-CR-00326-ADA-BAM
13                   Plaintiff,                         STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE; ORDER
14
            v.
15
      JEREMY GOBER,
16
                     Defendant.
17
18
19          IT IS HEREBY STIPULATED by and between the parties through their respective
20   counsel that the Status Conference scheduled for March 8, 2023, at 1:00 p.m., may be continued
21   until April 26, 2023, at 1:00 p.m., before the Honorable Barbara A. McAuliffe. The government
22   has produced discovery to defense counsel. The parties agree that time under the Speedy Trial
23   Act shall be excluded through April 26, 2023, in the interests of justice, including but not limited
24   to, the need for effective defense preparation and defense investigation pursuant to 18 U.S.C. §§
25   3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
26   ///
27   ///
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1    The parties also agree that the ends of justice served by taking this action outweigh the best
2    interests of the public and of the defendant to a speedy trial.
3
4     Dated: March 1, 2023                                 /s/ Melissa Baloian
                                                           Melissa Baloian
5                                                          Counsel for Jeremy Gober
6
      Dated: March 1, 2023                                 /s/ Joseph Barton
7
                                                           JOSEPH BARTON
8                                                          Assistant United States Attorney

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      UNITED STATES OF AMERICA                           Case No. 1:22-CR-00326-ADA-BAM
12
                     Plaintiff,                          ORDER
13
            v.
14
      JEREMY GOBER,
15
                     Defendant.
16
17
18          Upon the Parties’ stipulation and for good cause shown, the Status Conference scheduled

19   for March 8, 2023, at 1:00 p.m., is continued until April 26, 2023, at 1:00 p.m., before the

20   Honorable Barbara A. McAuliffe. The period through April 26, 2023, inclusive, is excluded

21   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

22
     IT IS SO ORDERED.
23
        Dated:     March 1, 2023                              /s/ Barbara    A. McAuliffe           _
24
                                                         UNITED STATES MAGISTRATE JUDGE
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